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                  IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                 Case No. 11-40047-05-RDR

JORGE M. MUNOZ,

                  Defendant.


                                 O R D E R

     This matter is presently before the court upon defendant Jorge

M. Munoz’ motion to extend the deadline for pretrial motions, which

is presently October 31, 2011. Defendant’s counsel, John W. Kerns,

states he was just reappointed to this case on October 27, 2011,

and he needs additional time to review the discovery and determine

if any motions need to be filed.

     The defendant is charged, along with 14 co-defendants, with

conspiracy to distribute in excess of 500 grams of methamphetamine

in violation of 21 U.S.C. § 846.        On June 9, 2011, John W. Kerns

was appointed to represent the defendant.            The court designated

this case as complex on June 27, 2011.         On June 30, 2011, Paul S.

Franco entered his appearance for the defendant after Mr. Franco

was retained by the defendant.         The court allowed Mr. Kerns to

withdraw.   On October 27, 2011, the defendant requested that the

court terminate Mr. Franco as his counsel and reappoint Mr. Kerns.

The court did so, after determining that Mr. Kerns was willing to
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accept the reappointment. The deadline for filing pretrial motions

at that time was October 31, 2011.

     Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court

may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interest of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors “among others:”       1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel or deny the attorney for the government or defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extension may deny counsel and defendant the time

necessary to adequately prepare for trial, taking into account the

exercise of due diligence.     The court believes that the requested

continuance is in the interests of the public and the parties


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because it will facilitate a fair, just and efficient resolution of

this matter.

     In sum, the court finds that the continuance requested is in

the interests of justice which outweigh the interests of the public

and the defendant in a speedy trial.        Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

     The court shall grant the defendant’s motion and extend the

deadline for filing pretrial motions to December 9, 2011. The

government shall have until December 23, 2011 in which to file its

responses.   The hearing on all pretrial motions in this case shall

be held on January 10, 2012 at 9:30 a.m.

     IT IS THEREFORE ORDERED that defendant Munoz’ motion to extend

deadline for filing pretrial motions (Doc. # 246) be hereby

granted.     The deadline for filing pretrial motions shall be

extended to December 9, 2011.       The government shall have until

December 23, 2011 in which to file its responses.            The hearing on

all pretrial motions in this case shall be held on January 10, 2012

at 9:30 a.m.

     IT IS SO ORDERED.

     Dated this 3rd day of November, 2011 at Topeka, Kansas.


                                 s/Richard D. Rogers
                                 United States District Judge




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